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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION
   MARTANEZE JOHNSON, JAMES HANNAH                      )
   AND WALTER CHERRY, on behalf of                      )   No. 1:19-cv-02066
   themselves, and all other plaintiffs similarly       )
   situated, known and unknown,                         )   The Honorable John F. Kness
                    Plaintiffs,                         )   District Court Judge
                         v.                             )
                                                        )   The Honorable Maria Valdez
   BOSMAN TRUCKING, INC., AN ILLINOIS
                                                        )   Magistrate Judge
   CORPORATION AND GREG
                                                        )
   TLUSTOCHOWICZ, INDIVIDUALLY                          )
                            Defendants.                 )

    PLAINTIFFS’ AMENDED MEMORANDUM OF LAW IN SUPPORT OF THEIR
     MOTION FOR CLASS CERTIFICATION PURSUANT TO FED. R. CIV. P. 23

      I.        Introduction and Background Facts
           On March 26, 2019, Plaintiffs Martaneze Johnson, James Hannah and Walter Cherry (the

“Named Plaintiffs”) filed their claims for back wages and other relief against Defendants Bosman

Trucking, Inc. and Greg Tlustochowicz (together “Bosman” or “Defendants”), stating claims

under the Fair Labor Standards Act (“FLSA”), Illinois Minimum Wage Law (“IMWL”) and the

Chicago Minimum Wage Ordinance (“CMWO”) . Dkt. 1. On May 7, 2019, Plaintiffs filed their

First Amended Complaint. Dkt. 6.

       This case, filed in 2019, has developed through discovery and numerous other procedural

steps. On November 26, 2019, Plaintiffs moved for Stage-One Conditional Certification and

Notice to Putative Class Members pursuant to 29 U.S.C. §216(b), Dkt. 38-39. Plaintiffs’ motion,

which was unopposed by Defendants, was granted by Hon. Robert W. Gettleman. Dkt. 42. As a

result, dozens of putative class members opted into the case.

       On July 9, 2020, Plaintiffs moved to Consolidate and Reassign the instant matter, Johnson

v. Bosman Trucking, Inc., et al, with another parallel case, Stingley v. Bosman Transport, Inc., et

al. On December 1, 2020, following contested briefing by the Parties, this Court granted Plaintiffs’

Motion to Consolidate and reassigned this matter to this Court’s calendar from Judge Gettleman.
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    As a result of the consolidation of the Stingley and Johnson matters, a near-identical (also

    “Amended”) Motion for Class Certification Pursuant to Fed. R. Civ. P. 23 has been filed

    concurrently herewith on behalf of the Stingley Plaintiffs.1

            Thereafter, on January 11, 2022, Plaintiffs filed their Unopposed Motion For Class

    Certification and Memorandum of Law in Support. Dkt. 138/139. On May 9, 2022, this Court

    denied (without prejudice) Plaintiffs’ Motion For R.23 Certification. See Dkt. 157. This Court

    ruled that Plaintiffs’:

                   “unopposed motion and proposed order lack the requisite information for the Court
                   to determine whether the factors set forth in Rule 23 actually are met. See Fed. R.
                   Civ. P. 23. Plaintiffs recognize in their memorandum in support of class certification
                   [139] the various factors required to satisfy Rule 23, but fail to develop sufficiently
                   those factors. (Dkt. 139 at 9-17.) Accordingly, Plaintiffs unopposed motion for class
                   certification under Rule 23 of the Federal Rules of Civil Procedure [138] is denied
                   without prejudice. Plaintiffs may, on or before 5/23/2022, resubmit a motion for
                   class certification, along with a draft order that fully complies with the requirements
                   of Rule 23. See, e.g., Stone et al. v. Signode Indus. Grp., LLC, 17-cv-05360, Dkt.
                   198 (March 25, 2022) (order certifying class). In addition, the submitted draft order
                   states that it is only "preliminarily" approving class certification. That requested
                   half-measure, however, is puzzling: unlike preliminary approval of a class action
                   settlement (a technique that this judge and others have employed), it is not clear
                   what legal authority permits the Court to grant preliminary certification of a class.
                   Nor is the purpose of preliminary certification readily apparent either. If preliminary
                   certification is indeed what Plaintiffs (or the parties together) seek, Plaintiffs must
                   provide relevant Seventh Circuit case law explaining from where such authority
                   springs (as it is not discussed in either Rule 23 or in Plaintiffs' memorandum in
                   support of the motion for class certification (see Dkt. [139])). In the alternative,
                   Plaintiffs are welcome to clarify that they are seeking final class certification and to
                   resubmit an appropriately revised draft order.

                   On May 24 (Dkt. 161), the Court granted Plaintiffs’ Unopposed Motion For

    Extension of time to file an amended motion, up to an including June 6, 2022.

                   Here, Plaintiffs seek to more fully develop the factual elements present in this case

    that supports Rule 23 Certification so as to address the Court’s concern. In doing so, Plaintiffs



1
 The one and only difference in the presentation of the Motions for Class Certification as between the two (2)
consolidated cases is that in this case, all Drivers were treated as as 1099 independent contractors. In the
related case (Stingley v. Laci), Drivers were at times also classified and paid by Laci as W2 employees. That
nuance is also the only difference in the Stipulations reached by both sides and the only difference in the
proposed Class definition(s).
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    also recognize their inaccurate reference to “preliminary certification” in the Motion and the

    proposed Order that was submitted, and here revise all materials in a manner that seeks from the

    Court “certification”, without the inaccurate reference to “preliminary” certification.

          II.     In Support of This Motion For R.23 Class Certification, Plaintiffs Rely Herein
                  Primarily Upon the Parties Detailed Stipulation of Facts Concerning the Near
                  Identical Facts and Law That Apply to All Plaintiff Drivers of the Proposed
                  Subclasses

           As developed in more detail below, the Parties have cooperated in the development of a

    comprehensive set of Stipulations that have been filed with the Court (Dkt. 135) and are attached

    hereto as Exhibit 1. In summary, those stipulated facts establish that the day-to-day job duties of

    all Drivers were substantially identical. Unlike the consolidated Stingley case, here Defendant

    Bosman did not employ “spotter Drivers”, only shuttle Drivers. And, unlike Stingley, Defendant

    Bosman classified all shuttle Drivers as 1099 independent contractors - no W2 employees. Thus,

    here, there is but one Class definition of Defendant’s Shuttle Drivers, as discussed more

    thoroughly infra. However, as the Stipulations demonstrate, and as the evidence in Plaintiffs’

    Motion for Consolidation demonstrated, all other material aspects of the compensation policies

    and procedures as well as the day to day job duties of the Drivers, across both cases, are

    fundamentally identical.

           All Plaintiffs herein (“Drivers”)2, performed duties as shuttle truck drivers for Defendants

    and during their entire employment, were tasked with transporting automobile component parts

    owned by Ford Motor Company (“Ford”) from certain local “holding lots” owned or leased by

    Ford to Ford’s Chicago Assembly Plant (“the CAP”). Plaintiffs routinely worked weeks in excess

    of forty hours. Plaintiffs were, for two (2) different contested reasons not relevant to this Motion,

    victims of common compensation practices that violate the FLSA, IMWL and CMWO.

           Defendants admit that all hours worked, including hours over 40 in a week, were paid to


2
  Throughout this Memorandum, reference to “Plaintiffs” and “Drivers” includes the Named Plaintiffs, all
opt-in Plaintiffs who have filed Consents via the previous Conditional Certification of the FLSA action, and
all Putative Class Members to which this R.23 Class Certification Motion pertains.
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    the Drivers at straight time rates. Rather, Defendants offer two (2) defenses to the nonpayment of

    time and half rates for the work over forty hours. See Defendants’ Affirmative Defenses, Dkt. 8.

    First, Defendants assert that Drivers qualified under the law as independent contractors and

    therefore are/were not entitled to overtime compensation. Additionally, Defendants failed to pay

    the required time and one-half rates based upon an asserted preemption by the Motor Carrier Act

    (“MCA”). While Plaintiffs do not here argue (because the legal standard does not require it) the

    merits of either the independent contractor defense or the MCA exemption, throughout the

    pertinent time frame Defendants continued to rely on one or both improper platforms as a basis

    for denial of Plaintiffs’ rightful compensation.3

            These pay practices, which denied and continue to deny Plaintiffs and other similarly

    situated Drivers their rightfully earned overtime pay, form the basis of Plaintiffs’ Motion for Class

    Certification Pursuant to Fed. R. Civ. P. 23.

                  A. Defendants’ Business and Plaintiffs’ Scope of Work

           Defendant Bosman is a trucking service contractor company registered in Illinois that

    provides shuttle driving services to a single client, Ford Motor Company. Bosman maintains or

    maintained an office and conducts or conducted most, if not all, of its business, near the CAP

    facility at 12600 S. Torrence Avenue, Chicago, Illinois 60633. See Parties’ Joint Stipulation of

    Facts (the “Stipulations”), ¶4, found at Dkt.135, and Exhibit 1 hereto. See also more information

    about the Parties’ Joint Stipulations, Section II(B), infra.

           Bosman is a motor carrier that operates under the U.S. Federal Motor Carrier Safety

    Administration authority and licensing of B&W Cartage Company (“B&W”). See Stipulations,

    ¶3. Bosman’s relationship with Ford and the services it provides filter through a series of other

    contractual relationships (Id at ¶¶19-20), none of which have any bearing upon the facts at issue



3
  All Named Plaintiffs are former employees of Bosman. However, the wage violations alleged herein have
been continued throughout this litigation. Thus, references to time in this Memorandum are made
interchangeably in the present and past tense.
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 in the case. Bosman has not asserted that any of its affiliated or sub-contracting relationships

 impacts its obligation to pay overtime, and Bosman’s affirmative defenses are restricted to the

 independent contractor and MCA exemption described herein. The import is, as Plaintiffs allege,

 Bosman was, at all times, “the employer”, and the Plaintiff Drivers were all providing identical

 Driver services.

            The Named Plaintiffs were all shuttle Drivers for Bosman, as were members of the

 proposed Plaintiff Class. Each workday, Plaintiffs would arrive at Bosman’s facility, proceed to

 their assigned truck-tractor (all of which were owned by Bosman) and begin moving trailers

 (owned by Ford or third-party auto part manufacturers or shippers) containing automobile

 component parts (owned by Ford) located at holdings lots (owned or leased by Ford) to the CAP

 for assembly of Ford vehicles. Id. at ¶¶21, 40. Drivers would locate, attach and “shuttle” trailers

 of auto parts based on instruction by third-party dispatchers (employed by B&W, CWS or other

 third-party contractors) acting at the direction of Ford’s employees at the CAP. Id. at ¶¶29, 45.

 Once a Driver completed a trip to the CAP from a Ford holding lot with a trailer of Ford auto

 parts, the Driver would hook to and return an empty trailer, at times along with the empty parts

 “racks”, back to one of the Ford holding lots. The Drivers would complete this same process

 several times per day. Id. at ¶¶17, 22.

            The Plaintiff Drivers were paid only a straight time rate for each and every hour they

 worked, including those hours over 40 in individual work weeks. Id. at ¶38. See also Dkt. 8,

 Defendants’ Answer to Plaintiffs’ First Amended Complaint (“Defendants’ Answer”), ¶¶5e-f, 6e-

 f, 7e-f.

                  B.     The Parties’ Agreed Stipulation of Facts

        Over the course of this litigation, the Parties have largely agreed as to the salient facts of

this case, identifying for the most part the legal issues surrounding the application of Defendants’

two (2) primary affirmative defenses: the asserted independent contractor classification and the


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MCA exemption. As a result, the Parties worked diligently at stipulating to a lion’s share of the

facts relevant to both of those legal issues in order to set the stage for anticipated motion practice

and cross motions for summary judgment.

       The Parties’ Joint Stipulation of Facts (the “Stipulations”) filed with this Court provide

Plaintiffs with all facts necessary to support each factor relevant to class certification under Fed. R.

Civ. P. 23. See Dkt. 135 and Exhibit 1. The Stipulations confirm that Plaintiffs and the proposed

Class consisting of other Drivers who performed identical duties, satisfy all prongs of Rule 23

mandates, including commonality, typicality, pre-dominance, and adequacy of representation.

These Stipulations are binding upon Defendants for all case purposes, including this Motion for

Class Certification. As Plaintiffs argue in support of Class Certification of their IMWL and CMWO

claims, this Court need look no further than the Parties’ Stipulations to conclude that the

uncontested facts found in the Stipulations overwhelmingly support Class Certification.

       The Parties’ Stipulations provide an uncontested and undisputed confirmation that all other

Drivers are not just similarly situated to the Named Plaintiffs, but identical. The Stipulations

confirm that all Plaintiff Drivers “are shuttle truck drivers, or former shuttle truck drivers, for

Defendant Bosman” and the “trailers containing out of state manufactured parts staged at Ford Lots

are transported to the CAP, by Plaintiff shuttle truck drivers” from said Ford Lots. See Stipulations,

¶1, 16. All Plaintiffs and Drivers were “paid straight time for every hour they worked” based on “a

fixed shift agreed upon between Bosman and the Plaintiff drivers.” Id. at ¶¶38, 46. These facts

apply equally to Plaintiffs and all Drivers within the putative class and constitute the foundation for

class certification of the IMWL and CMWO claims.

               C.      All Shuttle Drivers Were Denied Overtime Compensation for Hours
                       Worked in Excess of 40 Hours in Individual Work Weeks

                       i.      All Shuttle Drivers Within the Proposes Class Were Paid a
                               Straight Time, Regular Hourly Rate for All Hours Worked and
                               Bosman Acknowledges That Shuttle Drivers Were Not Paid
                               Overtime Premiums for Hours Worked in Excess of 40 in
                               Individual Work Weeks
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        The pay practices of Bosman as applied to all Plaintiff Drivers are undisputed. All Drivers

 were shuttle Drivers who performed identical shuttle driving tasks for Bosman in conjunction

 with Bosman’s services to Ford Motor Company. See Stipulations, ¶¶1, 17, 22. Plaintiffs allege

 they typically worked 12-hour shifts, five or six days per week. See Plaintiffs’ First Amended

 Complaint, Dkt. 6, ¶¶5b, 6b, 7b. Plaintiffs did not receive any overtime premiums over the course

 of their employments with Bosman. See Exhibit 2, Defendants’ Responses to Plaintiffs’

 Interrogatories No. 7; See also Stipulations, ¶38. Instead, all Drivers were “paid straight time for

 every hour they worked” based on “a fixed shift agreed upon between Bosman and the Plaintiff

 drivers.” Stipulations at ¶¶38, 46. Bosman acknowledges, through their Responses to

 Interrogatories and the Stipulations, that Drivers were not paid any overtime premiums for hours

 worked in excess of 40 in individual work weeks and that only straight time rates were paid. In

 addition to Bosman’s acknowledgments and admissions, Defendants’ own records evidence

 calculations of each Plaintiff’s weekly pay and further confirm Bosman’s alleged improper pay

 practice. See Exhibit 3, Defendants’ Payroll Samples for Named Plaintiffs.

                       ii.    Bosman Acknowledges All Shuttle Drivers Were Classified as
                              Independent Contractors and Through Discovery Responses
                              and Stipulations, Concede Facts Regarding this Arrangement

       As stated, infra, all Plaintiffs and Drivers were classified by Bosman as independent

contractors for the entirety of their employment. See Stipulations at ¶39, Defendants’ Responses to

Interrogatories, No. 9, 12(a), Defendants’ Answer, Dkt. 8, ¶13, 14. Bosman concedes all Plaintiffs

and Drivers signed a written Independent Contractor Agreement. Stipulations at ¶39. Bosman also

concedes all Drivers drove only vehicles owned by Bosman and that “[n]o Plaintiff driver provided

his or her own truck in conjunction with the services rendered to Bosman as a shuttle driver”. Id. at

¶40. Defendants concede that “shuttle truck driving services performed by Plaintiffs are/were

services integral to Defendant’s trucking business”. Id. at ¶41. Defendants concede that “No Plaintiff

shuttle truck driver was hired by Bosman Trucking, Inc. for special assignments or tasks.” Id. at ¶42.
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Defendants concede that no Plaintiff or Driver “participated in any other independent business

organization, operation or venture while performing driving services for Bosman.” Id. at ¶44.

Bosman admits that Plaintiffs worked at the direction of its “management employees, as well as

certain third-party dispatchers” that would “provide the Plaintiff shuttle drivers with instruction,

direction and assignment of tasks” such that the “work performed for Bosman by each Plaintiff

shuttle driver …was not work that could be performed at a time or date within any Plaintiff’s sole

discretion”. Id. at ¶¶45, 46.

        Although these Stipulations and admissions will be front and center of Plaintiffs’ inevitable

summary judgment arguments and primarily useful for that purpose, the Stipulations are offered here

to cement the elementary notion that this group of shuttle Drivers are profoundly similar (indeed,

identical) in every necessary aspect and properly positioned for Rule 23 Certification.

        III.    Proposed Class Definition

         Pursuant to the foregoing description of Plaintiffs’ and other shuttle Drivers’ receipt of

 only straight time wages for all hours worked in individual work weeks, Plaintiffs respectfully

 request the IMWL and CMWO class be certified under the provisions of Rule 23 as follows:

        All shuttle Drivers who work or worked for Defendants from March 26, 2019, to the date this
        Court enters an order certifying the Plaintiff class pursuant to Fed. R. Civ. P. 23, who were
        classified by Defendants as independent contractors, treated as exempt from overtime
        requirements because of the Motor Carrier Act exemption and were paid straight time wages
        for all hours worked in individual work weeks, including hours in excess of 40.

        IV.     Argument

               A. Merits Issues Are Not Considered at this Certification Stage
                  of the Proceedings

        As is well established, the sole issue now before the Court is whether certification of a

class is proper under Fed. R. Civ. P. 23. Consideration of the underlying merits of the claim are

not to be considered in regard to a request for class certification. See Cicilline v. Jewel Food

Stores, Inc., 542 F. Supp. 2d 831, 835 (N.D. Ill. 2008). Courts across the Northern District of

Illinois and the Seventh Circuit have consistently found that the merits of Plaintiffs’ claims are not
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being measured here at the certification stage, and the sole focus is whether Plaintiffs meet the

class certification requirements of Rule 23. See again Cicilline at 835 (“…the Court does not delve

into the merits of the ultimate issues in the case, which do not affect the question

of class certification under Rule 23. See Harris v. Circuit City Stores, Inc., 2008 WL 400862, at

*3–4 (N.D.Ill. Feb.7, 2008); Lau v. Arrow Fin. Servs., LLC, 245 F.R.D. 620, 623

(N.D.Ill.2007); Levie v. Sears Roebuck & Co., 496 F.Supp.2d 944, 946–47 (N.D.Ill.2007); Hyderi

v. Washington Mut. Bank, FA, 235 F.R.D. 390, 395 (N.D.Ill.2006); Cavin v. Home Loan Center,

Inc., 236 F.R.D. 387, 395 (N.D.Ill.2006).”. See also Retired Chicago Police Ass'n v. City of

Chicago, 7 F.3d 584, 598 (7th Cir. 1993) (“…as a general principle, a court is not allowed to

engage in analysis of the merits in order to determine whether a class action may be maintained.”).

While much of the evidence offered herein by Plaintiffs in support of Certification via Stipulations

and Defendants’ answers to written discovery will cross over in a substantive manner at the

“proof” stages of the case, it is not incumbent for Plaintiffs to assert those “proof” facts here.

              B. The Rule 23 Standard

       Rule 23 of the Federal Rules of Civil Procedure sets forth the standard and prerequisites for

class certification. The plaintiff has the burden of demonstrating that he has satisfied the requirements

of Fed. R. Civ. P. 23(a) and certification is proper under Rule 23(a). The burden is achieved if: (1)

the class is so numerous that joinder of all members is impracticable; (2) there are common questions

of law and fact; (3) the claims or defenses of the representative parties are typical of the claims or

defenses of the class; and (4) the representative parties will fairly and adequately protect the interests

of the class. Fed. R. Civ. P. 23(a). Furthermore, the plaintiff must meet one of the three requirements

listed under Rule 23(b): (1) separate lawsuits would create the risk of inconsistent judgments or

would be dispositive of the interests of non-party class members; or (2) the party opposing the class

has acted or refused to act on grounds generally applicable to the class, thereby making appropriate

final injunctive relief or corresponding declaratory relief with respect to the class as a whole; or (3)


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questions of law or fact common to the class predominate over questions affecting individual

members, and the class action is superior to other available methods. Fed. R. Civ. P. 23(b)(1) – (3).

              C. Class Certification of State and Municipal Wage Claims under Rule 23 is the
                 Proper Procedure for Joinder of Those Claims, Even After Earlier
                 Conditional Certification of FLSA Collective Action Pursuant to 29 U.S.C.
                 §216(b)

       This Court previously granted Plaintiffs’ Motion for Stage-One Conditional Certification and

Notice to the Putative Class Pursuant to 29 U.S.C. §216(b), which Bosman did not oppose. Dkt. 38-

39, 42. Nevertheless, certification of IMWL and CMWO claims pursuant to Fed. R. Civ. P. 23 is

proper for numerous reasons – primarily that class certification of state (and municipal) wage claims

is the proper procedural method of joinder for such claims.

       The primary difference between joinder under §216(b) and Fed. R. Civ. P. 23 is that class

members must “opt-in” to an FLSA collective action while class members in a Rule 23 class action

of state law claims are included in the class unless they opt out. See Ervin v. OS Rest. Servs., Inc.,

632 F.3d 971, 976 (7th Cir. 2011) (“[s]ection 16(b) of the FLSA permits an employee to participate

in a collective action only if that employee consents in writing to be a plaintiff in the action” while

“potential members of a Rule 23(b)(3) class must be given only the opportunity to opt out of

the class action; they will automatically be included in the class…”). Generally, class certification of

FLSA claims via 29 U.S.C. §216(b) and state law claims separately via Fed. R. Civ. P. 23

certification is proper, and both can co-exist. See, again Ervin at 977 (“[n]othing we find suggests

that the FLSA is not amenable to state-law claims for related relief in the same federal proceeding.”).

Relatedly, Courts routinely exercise supplemental jurisdiction over state wage law class claims in

FLSA collective action matters. See again Ervin at 979 .(“…the requirements of section 1367(a) are

satisfied in cases like this one, where state-law labor claims are closely related to an

FLSA collective action.”).

       The Court in Ervin also addressed other concerns likely to be argued by Bosman, such as that

putative class members will be confused given the opt-in nature of FLSA collective actions and the

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opt-out format of Rule 23 class actions. However, as the 7th Circuit has held “[i]t does not seem like

too much to require potential participants to make two binary choices: (1) decide whether

to opt in and participate in the federal action; (2) decide whether to opt out and not participate in

the state-law claims. Other courts in this circuit appear to have had little trouble working out an

adequate notice in this type of case.” Ervin at 978. Also, since the FLSA opt-in periods of both Notice

periods authorized by this Court have ended, there will be no such confusion for those that either

affirmatively chose not to opt-in to or did not receive notice of the FLSA action. Ultimately, it is

settled law in this District and Circuit that “there is no categorical rule against certifying a Rule

23(b)(3) state-law class action in a proceeding that also includes a collective action brought under

the FLSA” and that “hybrid” or “combined” collective and class actions are proper. Id. at 973-974.

       The existence of combined collective and class action matters is common practice across the

federal circuits, and Plaintiffs’ request here to certify their IMWL and CMWO class claims is

consistent with this concept. While certification of these federal and state law claims through both

§216(b) and Rule 23 are sometimes brought at the same time through a “hybrid” or “combined”

motion, the same is not required and it is equally proper for Plaintiffs to move for collective action

certification and class action certification separately.

       The matter of Damassia, et al. v. Duane Reade, Inc., et al before the United States District

Court of the Southern District of New York dealt with an almost identical situation as here. 250

F.R.D. 152, 154 (S.D.N.Y. 2008). Plaintiffs in related suits (Damassia v. Duane Reade, Inc. and

Chowdhury v. Duane Reade, Inc.) were assistant managers at Duane Reade drug stores. Plaintiffs

did not receive overtime wages, which Duane Reade conceded (as Bosman concedes as to shuttle

Drivers in this case). Id.; See also Stipulations at ¶44, Defendants’ Answer, Dkt. 8, ¶¶5e-f, 6e-f, 7e-f.

Duane Reade argued overtime was not required due to an exemption to the overtime provisions of

the FLSA (as Bosman does here as to shuttle drivers). Damassia at 154; See also Defendants’

Answer, Dkt. 8, pg. 15-16. In a previous ruling, the Damassia court granted the plaintiffs’ motion to


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authorize a collective action of the FLSA claims. Id. Because FLSA collective actions do not

inherently apply to state law claims, and the related New York state law claims did not provide for

collective action certification, the plaintiffs later moved the Court for class certification of state wage

claims pursuant to Fed. R. Civ. P. 23. Id. Equally similar to this case, “the issue in dispute in

[Damassia] is not whether [the employer] paid overtime, which it admits it did not, but whether [the

employer’s] failure to pay overtime is excused by one or more of the statutory exceptions to the

requirement.” Id.

        The Damassia court granted the plaintiffs’ request for Rule 23 class certification of their state

law wage claims over myriad objections from Duane Reade as to each Rule 23 requirement, holding

that “allowing a class action under these circumstances would not “‘nullify Congress's intent [as to

the FLSA].’”) Id. at 162 (internal citations omitted). Duane Reade’s primary arguments against class

certification were that plaintiffs could not satisfy the “superiority” leg of Rule 23(b). The Damassia

court rejected numerous arguments from Duane Reade (which Bosman can be expected to make in

this case) suggesting that collective and class actions are incompatible, finding instead “there is no

reason that FLSA's collective action procedure is incompatible with maintaining a state law class

action over the same conduct”. Id. Further, the Damassia court found that both “concern about

including class members who do not really want to participate in the class” and “potential confusion

to class members of receiving multiple notices” deserved “little weight” and “were not [of]

significant concern[s]” Id. at 163.

        Based on the thorough reasonings of both the 7th Circuit in Ervin and the Southern District of

New York in Damassia, it is clear that FLSA collective actions and Rule 23 class actions of related

federal and state (and additionally, here, municipal) wage claims can be litigated in a single

proceeding and that the sequence is not of particular consequence. In sum, Plaintiffs’ Motion for

Class Certification of their IMWL and CMWO claims pursuant to Fed. Civ. P. 23 is proper both

procedurally and substantively and should be granted.


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              D. Plaintiffs Satisfy the Requirements for Class Certification under Rule 23

                     1. Numerosity

       To satisfy numerosity, the class size must be large enough such that joinder of all members is

impracticable. “[W]hile there is no number requiring or barring a finding of numerosity, a class of

more than forty members is generally believed to be sufficiently numerous for Rule 23 purposes.”

Toney v. Rosenwood Care Ctr., Inc., 1999 U.S. Dist. LEXIS 4744, at *22 (N.D. Ill.1999); see also

Swanson, 415 F.2d at 1333 n.9 (7th Cir. 1969) (forty class members establish numerosity).

       Here, Plaintiffs easily establish numerosity. At present, there are a total of 20 joined Plaintiffs

in this matter. As established previously through Defendants’ responses to written discovery and

Plaintiffs’ previous distribution of Notice to shuttle drivers via 29 U.S.C. §216(b), Bosman has

confirmed that they employed, at least, approximately 63 Drivers between March 2016 and October

2019, such that the proposed putative class far exceeds the typical 40 class member threshold for

Rule 23 certification. See Exhibit 2, Defendants’ Responses to Plaintiffs’ Interrogatories. Bosman

may have employed even more shuttle drivers since Plaintiffs issued FLSA Notices in January of

2020. There is no question that Plaintiffs satisfy Numerosity.

                     2. Commonality

       For a class to be certified, questions of law or fact must exist common to the class. Fed. R.

Civ. P. 23(a)(2). “[T]he cases have not been overly restrictive in setting out the requirements for

commonality, with the existence of a common nucleus of operative fact usually being enough to

qualify ” Rosario v. Livaditis, 963 F.2d 1013, 1018 (7th Cir. 1992). Furthermore, it is well-established

that what commonality does not require is “that every member of the class have an identical claim.

It is enough that there be one or more common questions of law or fact.” Spano v. The Boeing

Co., 633 F.3d 574, 585 (7th Cir. 2011).

       In this case, commonality is clearly demonstrated. Plaintiffs assert (and Defendants admit via
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the Stipulations) that as Drivers for Bosman, they were paid only straight time wages for all hours

worked in excess of 40 in individual work weeks. Commonality is also demonstrated by the near

identical job duties, policies and procedures required by Bosman for all its shuttle drivers, including

alleged misclassification of shuttle drivers as independent contractors and assertion of the MCA

exemption.4 As detailed, supra, the Parties’ Stipulations confirm that substantial common questions

of fact or law (in this case, both) exist as to the class. See again Stipulations, ¶¶1, 17, 18, 22, 26, 27,

38, 39, 40, 41, 42, 43, 44, 45, 46. The facts related to the job duties, pay practices and employment

classifications of shuttle drivers are undisputed, irrefutable and admitted by Bosman, such that

commonality is satisfied.

          The sole basis of this putative class action is the allegation of the non-payment of overtime

that Drivers endured during a specific time period, all as a result of the identical pay practices and

policies implemented by Bosman and accordingly, commonality is undeniable.

                         3. Typicality

          The issue of typicality is closely related to that of commonality. Rosario, 963 F.2d at 1018.

To satisfy the typicality requirement of Rule 23(a)(3), the class representative’s claims must arise

from the same practice or course of conduct and be based on the same legal theory as the claims of

class members. De La Fuente v. Stokely-Van Camp, Inc., 713 F.2d 225, 232 (7th Cir. 1983).

Typicality is meant to ensure that the claims of the class representatives have the “same essential

characteristics as the claims of the class at large.” Retired Police Ass’n v. City of Chicago, 7 F.3d

584, 596 (7th Cir. 1993).

          Typicality, like commonality, is satisfied in this case in that Plaintiffs allege they suffered the

identical nonpayment of overtime arising out of the identical policies and procedures argued herein

and which serves as the premise for all Class claims as well. In this case, and for largely the same




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    See Plaintiffs’ Proposed Class Definition, supra.
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reasons commonality is satisfied, the claims of Plaintiffs and class members arise from the same

alleged conduct of Bosman and therefore, typicality is satisfied.

                      4. Adequacy of Representation

        Rule 23(a)(4) requires the named class representatives to “fairly and adequately protect the interests

of the class.” Fed. R. Civ. P. 23(a)(4); see also Hill v. Western Electric Co., 672 F.2d      381, 388 (4th

Cir. 1982); Murray v. Bill Me Later, 12 C 4789 (N.D. Ill. Jul. 24, 2014).

        Adequacy of representation by a plaintiff is a question of fact and the plaintiff bears the

burden of proof. See, e.g., Predmore v. Allen, 407 F. Supp. 1053, 1064 (D. Md. 1975). The adequacy

inquiry looks to whether the named plaintiff has interests common with, and not antagonistic to,

those of absent class members; and the plaintiff’s attorney is qualified, experienced, and able to

conduct the litigation. See, e.g., Sosna v. Iowa, 419 U.S. 393, 403 (1975).

        Plaintiffs satisfy this standard as well. The Named Plaintiffs do not have antagonistic or

conflicting claims with other members of the Class. This is confirmed by the Parties’ Stipulations. See

again Stipulations, ¶¶1, 17, 18, 22, 26, 27, 38, 39, 40, 41, 42, 43, 44, 45, 46; See also Plaintiffs’ First

Amended Complaint, Dkt. 6. All of the Named Plaintiffs worked for Bosman as shuttle Drivers as

were all proposed Class Members and per the clear and concise proposed definition of the Class, all

have experienced the nonpayment of overtime by way of Bosman’s identical policies and practices

related to payment of wages and worker classification.

        Moreover, Plaintiffs’ lead attorneys are competent and experienced in the area of class action

litigation and are qualified and able to conduct this litigation. Rule 23(g) requires that courts consider

the following four factors when appointing class counsel: (1) the work counsel has performed in

identifying the potential class claims, (2) class counsel’s experience in handling complex litigation

and class actions, (3) counsel’s knowledge of the applicable law, and (4) the resources that class

counsel will commit to representing the class. See Fed. R. Civ. P. 23(g). In this case, all these

requirements are met. Here, Class lead counsel, John W. Billhorn, has practiced law in the federal


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courts in this and other jurisdictions since his graduation from The John Marshall Law School in 1987,

and has extensive experience in litigating wage and hour cases under the FLSA and pendent Illinois

and municipal statutes. It is estimated that Mr. Billhorn, a solo practitioner during the balance of his

34-year career at the bar, has litigated to successful conclusion approximately 750 wage and hour

cases, recovering in settlement and at trial millions of dollars in back wages under a variety of different

theories and claims. Moreover, Mr. Billhorn has competently litigated the instant case through

aggressive discovery and various motion practice by both sides and has gathered ample evidence

establishing the propriety of class certification. Here, the adequacy of representation requirement is

clearly met.

        Plaintiffs’ counsel Samuel D. Engelson is likewise competent and experienced in the area of

class action litigation and is qualified and able to conduct this litigation as required by Rule 23(g). Mr.

Engelson also meets all these requirements. Mr. Engelson graduated from The John Marshall Law

School in 2017 and began litigating wage and hour matters (including the FLSA, IMWL and CMWO)

before the Northern District of Illinois in February 2018. Upon joining Billhorn Law Firm, Mr.

Engelson has gained extensive experience litigating wage and hour matters and has litigated, at least,

approximately 80 wage and hours cases, including numerous class action matters. Mr. Engelson has

recovered via settlement hundreds of thousands of dollars in back wages and damages under a variety

of different theories and claims. Mr. Engelson has competently litigated the instant case through

discovery and various motion practice by both sides and has gathered ample evidence establishing the

propriety of class certification. Here, the adequacy of representation requirement is clearly met.

               E. This Action Satisfies the Requirements of Rule 23(b)(3)

        In addition to meeting the requirements of Rule 23(a), a class action must also satisfy the

requirements of subdivision (b). Rule 23(b)(3) provides that a class can be maintained if “questions

of law or fact common to the members of the class predominate over any questions affecting only

individual members, and . . . a class action is superior to other available methods for the fair and


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efficient adjudication of the controversy.” Fed. R. Civ. P. 23(b)(3); see also Cicilline v. Jewel Food

Stores, Inc., 542 F. Supp. 2d 831, 838 (N.D. Ill. 2008) (explaining that “matters pertinent to the

findings include: (A) the interest of members of the class in individually controlling the prosecution

or defense of separate actions; (B) the extent and nature of any litigation concerning the controversy

already commenced by or against members of the class; (C) the desirability or undesirability of

concentrating the litigation of the claims in the particular forum; and (D) the difficulties likely to be

encountered in the management of a class action”).

       For purposes of a class action, the common questions of law and fact in this proposed class

clearly predominate over any individual issues. The dominant legal issue Plaintiffs move this Court

to certify for class treatment is Bosman’s practices pertaining to non-payment of overtime for

shuttle driving work. The predominance requirement is also satisfied where a “common nucleus of

operative facts,” for which the law provides a remedy, exists among all class members. Chandler v.

Southwest Jeep-Eagle, Inc., 162 F.R.D. 302, 310 (N.D. Ill. 1995).

       In this case, there is an undisputed and irrefutable common nucleus of operative facts that

concern the application of Bosman’s pay practices and policies that include paying shuttle Drivers

only straight time wages for all hours worked, including hours worked in excess of 40 in individual

work weeks. This is the only basis for operative facts in this Rule 23 Class Action, as there are no

individual issues. See generally, Stipulations. Dkt. 135.

       Moreover, a class action is superior to other methods of adjudication in this case. Judicial

economy and efficiency, as well as consistency of judgments, would be achieved through the

certification of the class. See Scholes v. Stone, McGuire & Benjamin, 143 F.R.D. 181 (N.D. Ill.

1992). The alternative is potentially hundreds of individual lawsuits asserting modest claims and

protracted piecemeal litigation, such that a class action is the appropriate method for resolving many

modest claims such as those at issue herein. See, e.g., Warren v. Town of Speedway, 2013 U.S.

Dist. LEXIS 178273, at *16-17 (S.D. Ill. Dec. 19, 2013). For all of these reasons, Plaintiffs have


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satisfied the requirements of Rule 23(a) and (b), and this Court should certify the Plaintiff classes as

described in Section II, supra.

       V.      Plaintiffs’ Proposed Notice for Shuttle Drivers Is Proper in Content and Form,
               and the Notice Adequately Describes the Nature of the Claims as Well as the
               Procedures That Remain in the Case, and the Notice Should be Approved by
               the Court.

       Plaintiffs attach hereto as Exhibit 4 a draft Notice to be mailed to the Plaintiff Class as

identified by Defendants. The Notice fairly and adequately describes the nature of the claims, the

reasons(s) why the recipient has been identified as a member of the Class, and the remaining tasks

and procedures that will be required to reach a judicial decision on the merits of the claims.

       VI.     Conclusion

         In accordance with the foregoing, Plaintiffs respectfully request that this Court grant their

 Motion for Class Certification under Fed. R. Civ. P. 23, and enter an Order:

         A. Certifying the Class as defined herein under the IMWL and CMWO in accordance
            with Plaintiffs’ Motion and Memorandum;

         B. Appointing the Named Plaintiffs herein to serve as representatives of the Class, and
            Plaintiffs’ attorneys to serve as Class Counsel;

         C. Directing Defendants to hereafter provide Class Counsel with the names, last known
            addresses, email addresses and phone numbers of all Class Members;

         D. Granting Plaintiffs permission to send Notice of the Class Action to Class Members
            by mail, email and text message with the assistance of a reputable Class
            Administrator, as well as posting of such Notice at Bosman’s (if such a workplace
            still exists), in an agreed upon location or locations, the Notice to be in a form as
            attached hereto as Exhibit 4 or as otherwise required by the Court;

         E. For such additional relief as this Court deems appropriate under the circumstances.


                                                               Respectfully submitted,

                                                               Electronically Filed 6/06/2022

                                                               /s/ John W. Billhorn
                                                               ___________________________
                                                               John William Billhorn
                                                               Samuel D. Engelson


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                                               unknown




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